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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig            *
“Deepwater Horizon” in the Gulf                       MDL 2179
of Mexico, on April 20, 2010               *
                                                      SECTION: J(2)
 Applies to:                               *
 No. 20-0092                                          JUDGE BARBIER
                                           *
                                                      MAG. JUDGE CURRAULT

                                      ORDER

      Before the Court is a Motion for Voluntary Dismissal with Prejudice by the

plaintiffs in the referenced member case. (Rec. Doc. 26868).

      IT IS ORDERED that the Motion is GRANTED and all claims in Civil Action

No. 20-0092, Pensacola Stevedore Co., Inc. and William Matthew Pate v. BP Expl. &

Prod. Inc., et al., are DISMISSED WITH PREJUDICE, each party to bear their

own costs. The Clerk shall CLOSE this case.

      New Orleans, Louisiana, this 21st day of January, 2021.



                                               _________________________________
                                                  United States District Judge


Note to Clerk: File in 10-md-2179 and 20-0092
